                   Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 1 of 19


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,XwZ]w79ZlgwgKAw>7gAewZCw          )ZoBV:B_w w  w              OXwgKAw;ZlXguwZCw           08Zfw                     OXwgKAw
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Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 2 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 3 of 19
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Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 5 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 6 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 7 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 8 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 9 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 10 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 11 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 12 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 13 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 14 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 15 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 16 of 19
Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 17 of 19
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Case 1:21-mj-01739-SCY Document 2 Filed 11/23/21 Page 19 of 19
